      Case 1:07-cv-01080-LJO-GSA Document 75 Filed 04/16/09 Page 1 of 5


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 4                            IN THE UNITED STATES DISTRICT COURT
 5                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   ROGER McINTOSH,                                         CASE NO. 1:07-cv-1080 LJO GSA
 8                                                           SCHEDULING CONFERENCE ORDER
                            Plaintiff,
 9
            vs.
10                                                           Expert
     NORTHERN CALIFORNIA UNIVERSAL                           Disclosure:          June 5, 2009
11   ENTERPRISES COMPANY, et al.,
                                                             Supplemental
12                          Defendants.                      Expert Disclosure:   June 25, 2009
13                                                           Nonexpert
                                                             Discovery Cutoff:    July 6, 2009
14
                                                             Expert
15                                                           Discovery Cutoff:    August 4, 2009
16                                                           Pretrial Motion
                                                             Filing Deadlines
17                                                             Non-Dispositive:   July 17, 2009
                                                               Dispositive:       September 30, 2009
18
                                                             Pretrial Motion
19                                                           Hearing Deadline:    October 30, 2009
20                                                           Pretrial Conf.:      Date: December 17, 2009
                                                                                  Time: 8:30 a.m.
21                                                                                Dept.: 4 (LJO)
22                                                           Jury Trial:          Date: March 1, 2010
                                                             (10-15 days est.)    Time: 8:30 a.m.
23                                                /                               Dept.: 4 (LJO)
24          This Court conducted a scheduling conference on April 15, 2009.            All parties appeared
25   telephonically as follows: Jeffrey A. Travis on behalf of Plaintiff Roger McIntosh; Steven J. Hassing
26   on behalf of Defendant Northern California Universal Enterprises Co.; Chaka Okadigbo on behalf of
27   Defendant City of Wasco; and William L. Alexander on behalf of Defendant DeWalt CM, Inc. Pursuant
28   to F.R.Civ.P. 16(b), this Court sets a schedule for this action.

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      Case 1:07-cv-01080-LJO-GSA Document 75 Filed 04/16/09 Page 2 of 5


 1   1.     Amendment To The Parties’ Pleadings
 2          Counsel for Plaintiff and Defendant DeWalt CM Inc. are conferring regarding the appropriate
 3   DeWalt entity as current Defendant DeWalt CM, Inc. believes the proper party to be Dennis D. DeWalt.
 4   To that end, the parties agreed that any amendments to the pleadings would be completed on or before
 5   April 24, 2009.
 6   2.     Consent To Magistrate Judge
 7          Due to this Court’s heavy caseload and its effect to hold to scheduled dates, the parties are
 8   encouraged to consent to conducting further proceedings by a United States Magistrate Judge. In any
 9   event, the parties are reminded to file the Consent form as previously requested by the court on August
10   7, 2008. To date, no party has filed the Consent form.
11   3.     F.R.Civ.P. 26(a)(1) Initial Disclosures
12          The parties will complete initial disclosures no later than April 24, 2009.
13   4.     Expert Witnesses
14          Initial expert witness disclosures by any party shall be served no later than June 5, 2009.
15   Supplemental expert witness disclosures by any party shall be served no later than June 25, 2009. Such
16   disclosures must be made pursuant to F.R.Civ.P. 26(a)(2)(A) and (B) and shall include all information
17   required thereunder. In addition, F.R.Civ.P. 26(b)(4) and F.R.Civ.P. 26(e) shall specifically apply to all
18   discovery relating to expert witnesses and their opinions. Each expert witness must be prepared fully
19   to be examined on all subjects and opinions included in the designations. Failure to comply with these
20   requirements will result in the imposition of appropriate sanctions, which may include the preclusion
21   of testimony or other evidence offered through the expert witness. In particular, this Court will enforce
22   preclusion of testimony or other evidence if F.R.Civ.P. 26(e) is not strictly complied with.
23   5.     Discovery Cutoffs And Limits
24          All nonexpert discovery shall be completed no later than July 6, 2009.
25   6.     Pretrial Motion Schedule
26         All pretrial non-dispositive motions shall be served and filed no later than July 17, 2009. All pre-
27 trial dispositive motions shall be served and filed no later than September 30, 2009. All pretrial
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        Case 1:07-cv-01080-LJO-GSA Document 75 Filed 04/16/09 Page 3 of 5


 1 dispositive and nondispositive motions shall be set before the appropriate judge for a hearing to be
 2 conducted no later than October 30, 2009.
 3          Non-dispositive motions are heard on Fridays at 9:30 a.m., before the Honorable Gary S. Austin,
 4 United States Magistrate Judge in Courtroom 10. Counsel must comply with Local Rule 37-251 with
 5 respect to discovery disputes or the motion will be denied without prejudice and dropped from
 6 calendar.
 7          In scheduling such motions, the Magistrate Judge may grant applications for an order shortening
 8 time pursuant to Local Rule 6-142(d). However, if a party does not obtain an order shortening time, the
 9 notice of motion must comply with Local Rule 37-251.
10          Counsel or pro se parties may appear and argue non-dispositive motions by telephone, providing
11 a written request to do so is made to the Magistrate Judge's Courtroom Clerk no later than five (5) court
12 days before the noticed hearing date. In the event that more than one party requests to appear by
13 telephone then it shall be the obligation of the moving part(ies) to arrange and originate a conference call
14 to the Court.
15          At the pretrial conference, the Court will set filing and hearing dates for motions in limine.
16 7.       Settlement Conference
17          The parties have indicated a preference to schedule the settlement conference at a later date,
18 following the outcome of the dispositive motions contemplated by the various parties. The parties were
19 advised to contact the courtroom deputy to Magistrate Judge Gary S. Austin to schedule a settlement
20 conference at a later date. The following information regarding a settlement conference is provided as
21 a courtesy.
22          Unless otherwise permitted in advance by the Court, the attorneys who will try the case shall
23 appear at the settlement conference with the parties and the person or persons having full authority to
24 negotiate and settle the case, on any terms, at the conference.
25          No later than seven days prior to the settlement conference, each party shall submit directly
26 to the Judge Austin’s chambers at gsaorders@caed.uscourts.gov, a confidential settlement conference
27 statement. This statement should neither be filed with the clerk of the Court nor served on any other
28 party. Each statement shall be clearly marked “CONFIDENTIAL” with the date and time of the

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        Case 1:07-cv-01080-LJO-GSA Document 75 Filed 04/16/09 Page 4 of 5


 1 mandatory settlement conference indicated prominently. Counsel are urged to request the return of their
 2 statements. If such request is not made, the Court will dispose of the statement.
 3          The confidential settlement conference statement shall include the following:
 4          A.     A brief statement of the facts of the case;
 5          B.     A brief statement of the claims and defenses (i.e., statutory or other grounds upon which
 6 the claims or defenses are based), a forthright evaluation of the parties' likelihood of prevailing on the
 7 claims and defenses, and a description of the major issues in dispute;
 8          C.     A summary of the proceedings to date;
 9          D.     An estimate of the cost and time to be expended for further pretrial and trial matters,
10 including discovery;
11          E.     The relief sought; and
12          F.     The party's position on settlement, including the amount which the party will accept
13 to settle, realistic settlement expectations, present demands and offers, and a history of past settlement
14 discussions, offers, and demands.
15          This Court will vacate the settlement conference if the Court finds the settlement conference will
16 be neither productive nor meaningful to attempt to resolve all or part of this case. As far in advance of
17 the settlement conference as possible, a party shall inform the Court and other parties that it believes the
18 case is not in a settlement posture so the Court may vacate or reset the settlement conference. Otherwise
19 the parties shall proceed with the settlement conference in good faith to attempt to resolve all or part of
20 the case.
21 8.       Pretrial Conference
22          This Court sets a pretrial conference for December 17, 2009, at 8:30 a.m. in Department 4 (LJO)
23 of this Court. The parties are directed to file a joint pretrial statement which complies with the
24 requirements of this Court’s Local Rule 16-281. In addition, the joint pretrial statement should include
25 a brief factual summary and an agreed upon neutral statement of the case. An additional copy of the joint
26 pretrial statement, carefully prepared and executed by all counsel, shall be electronically filed in CM/ECF
27 and shall be e-mailed in WordPerfect format to ljoorders@caed.uscourts.gov.
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      Case 1:07-cv-01080-LJO-GSA Document 75 Filed 04/16/09 Page 5 of 5


 1            The parties’ attention is directed to this Court’s Local Rules 16-281 and 16-282. This Court will
 2 insist upon strict compliance with those rules.
 3            At the pretrial conference, the Court will set deadlines, among others, to file motions in limine,
 4 final witness lists, exhibits, jury instructions, objections, and other trial documents.
 5   9.       Trial Date
 6            A ten to fifteen day jury trial is set for March 1, 2010, at 8:30 a.m. in Department 4 (LJO) of
 7   this Court.
 8            At this time, the parties request no bifurcation of issues.
 9   10.      Effect Of This Order
10            This order represents the best estimate of the Court and parties as to the agenda most suitable to
11   dispose of this case. If the parties determine at any time that the schedule outlined in this order cannot
12   be met, the parties are ordered to notify the Court immediately of that fact so that adjustments may be
13   made, either by stipulation or by subsequent status conference. Stipulations extending the deadlines
14   contained herein will not be considered unless they are accompanied by affidavits or declarations with
15   attached exhibits, where appropriate, which establish good cause for granting the relief requested.
16            Failure to comply with this order shall result in the imposition of sanctions.
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18            IT IS SO ORDERED.
19             Dated:      April 16, 2009                       /s/ Gary S. Austin
     6i0kij                                               UNITED STATES MAGISTRATE JUDGE
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